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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In re Barnes & Noble Pin Pad                  )
 Litigation                                    )     Case No. 12-cv-8617
                                               )
                                               )     Hon. Andrea R. Wood
                                               )
                                               )     Magistrate Judge Schenkier
                                               )

                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to agreement of the Parties, Plaintiff Susan Winstead hereby dismisses this case

with prejudice pursuant to Rule 41(a)(1)(A)(ii), with each party to bear its own costs and fees,

including attorneys’ fees. There being no remaining plaintiffs or claims, this consolidated lawsuit

can and should now be terminated in its entierety.

       WHEREFORE, the Parties request that this Court enter dismissal of this case with

prejudice pursuant to Rule 41(a)(1)(A)(ii).

Dated: April 5, 2019


 Respectfully submitted,                             Respectfully submitted,

/s/_Ben Barnow____________________                   /s/__Kenneth L. Chernof__________________
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                 CERTIFICATE OF SERVICE BY ELECTRONIC MEANS

       The undersigned hereby certifies that the preceding document was caused to be served

electronically this 5th day of April 2019 with the Clerk of Court using the CM/ECF system, which

will send notification of such filing to all counsel of record.



                                                                  /s/ Ben Barnow

                                                                  Ben Barnow
